Case 2:22-cv-00125-JRG           Document 88        Filed 04/19/23       Page 1 of 4 PageID #: 1915




                               UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF TEXAS
                                    MARSHALL DIVISION


  ENTROPIC COMMUNICATIONS, LLC,

                  Plaintiff,
                                                                    Case No. 2:22-cv-00125-JRG
          v.
                                                                   JURY TRIAL DEMANDED
  CHARTER COMMUNICATIONS, INC.,

                  Defendant.


               AGREED MOTION TO AMEND DOCKET CONTROL ORDER

         Plaintiff Entropic Communications, LLC, with Defendant Charter Communications, Inc.’s

 agreement, hereby moves to amend the Docket Control Order (Dkt. 40), in its current form of the

 Second Amended Docket Control Order (Dkt. 73), to extend the deadline to complete claim

 construction discovery (P.R. 4-4) from its current date of April 25, 2023 until May 5, 2023. This

 ten (10) day extension is sought due to the availability of the Plaintiff’s claim construction expert

 witness, and it will not affect any of the remaining deadlines or the trial date in this action. Counsel

 for the Parties have conferred on this extension and are in agreement.

         Accordingly, the Parties respectfully request that the Court amend its Docket Control Order

 to extend the deadline to complete claim construction discovery up to and through May 5, 2023.

 This extended deadline is reflected in the proposed Amended Docket Control Order submitted

 herewith.
Case 2:22-cv-00125-JRG   Document 88      Filed 04/19/23    Page 2 of 4 PageID #: 1916




 Dated: April 19, 2023

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Case 2:22-cv-00125-JRG   Document 88      Filed 04/19/23    Page 3 of 4 PageID #: 1917




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Case 2:22-cv-00125-JRG         Document 88       Filed 04/19/23      Page 4 of 4 PageID #: 1918




                                 CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing document was filed electronically in

 compliance with Local Rule CV-5(a). Therefore, this document was served on all counsel who are

 deemed to have consented to electronic service on this the 19th day of April, 2023.



                                                     /s/ Andrea Fair
                                                     Andrea Fair




                              CERTIFICATE OF CONFERENCE

        The undersigned hereby certifies pursuant to Local Rule CV-7(i) that the relief requested

 in this motion is agreed.



                                                     /s/ Andrea Fair
                                                     Andrea Fair
